             Case 1:21-cr-00195-CKK Document 113 Filed 03/14/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA,
          Plaintiff,

     vs.                                                     Criminal Case No. 21-cr-00195

     SALVADOR SANDOVAL, JR.,
          Defendant.


                                 MOTION TO WITHDRAW

           COME NOW the undersigned pursuant to LCrR 44.5(d) and moves to withdraw as counsel

for Defendant Salvador Sandoval, Jr. in the above captioned matter for the following reasons:

1.    Defendant Salvador Sandoval, Jr., has retained Attorney William L. Shipley, Jr. for the

sentencing scheduled for April 25, 2023.

2.    On February 27, 2023, Attorney William L. Shipley, Jr. entered his Appearance for

Defendant Salvador Sandoval, Jr.

3.    The undersigned requests that he be allowed to withdraw from representation of

Defendant Salvador Sandoval, Jr., as Defendant has retained other counsel for the

sentencing scheduled for April 25, 2023, and the undersigned’s withdrawal will not

delay the proceeding or be prejudicial to any party.

           WHEREFORE, the undersigned respectfully requests that his Motion to Withdraw

be granted.
          Case 1:21-cr-00195-CKK Document 113 Filed 03/14/23 Page 2 of 2



                                                       Respectfully Submitted,

                                                       TOBIN O'CONNOR CONCINO PC



                                                      /s/ David C. Tobin
                                                      David C. Tobin, DC Bar No. 395959
                                                      5335 Wisconsin Avenue, N.W.
                                                      Suite 400
                                                      Washington, DC 20015
                                                      Phone: (202) 362-5900
                                                      Fax: (202) 362-6579
                                                      dctobin@tobinoconnor.com
                                                      ATTORNEY FOR DEFENDANT
                                                      SALVADOR SANDOVAL, JR.


                                    CERTIFICATE OF SERVICE


       I hereby declare that on March 14, 2023, I electronically filed the foregoing with the

Clerk of Court using the ECF system which will send notification of such filing to the

following:

William L. Shipley, Jr., Esq.
Brian Beasley, Esq.
Hally Grosshans, Esq.


First class mail notification to:

Salvador Sandoval, Jr.
Alexandria Detention
Center 2001 Mill Road
Alexandria, VA 22315


                                                         /s/ David C. Tobin
                                                         David C. Tobin
